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 1 DAVID L. ANDERSON (CABN 149604)
   United States Attorney
 2
   SARA WINSLOW (DCBN 457643)
 3 Chief, Civil Division

 4 REBECCA A. FALK (CABN 226798)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7022
 7        FAX: (415) 436-6748
          Rebecca.Falk@usdoj.gov
 8
   Attorneys for Defendants
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13   INTERNATIONAL TECHNOLOGICAL          )     CASE NO. 18-06228 EJD
     UNIVERSITY FOUNDATION, INC.,         )
14                                        )     DEFENDANTS’ REPLY IN SUPPORT OF
                      PLAINTIFF,          )     MOTION TO DISMISS
15                                        )
          V.                              )
16                                        )     Date: June 13, 2019
     KIRSTJEN M. NIELSEN, IN HER OFFICIAL )     Time: 9 a.m.
17   CAPACITY AS SECRETARY OF THE         )
     DEPARTMENT OF HOMELAND               )
18   SECURITY, UNITED STATES OF
     AMERICA, UNITED STATES
19   DEPARTMENT OF HOMELAND
     SECURITY, UNITED STATES
20   IMMIGRATION AND CUSTOMS
     ENFORCEMENT, STUDENT EXCHANGE
21   AND VISITOR PROGRAM, AND DOES 1
     THROUGH 10, INCLUSIVE,
22        Defendants.

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 1 I.       INTRODUCTION

 2          Plaintiff International Technological University Foundation, Inc. (“ITU”) brings this action (1) for

 3 Declaratory Relief for Violation of Fifth Amendment Due Process Rights and Federal Common Law

 4 under 28 U.S.C. § 2201; (2) Declaratory Relief under the Administrative Procedures Act, 5 U.S.C. § 706

 5 (“APA”); (3) Injunctive Relief under the APA; and (4) Relief under the Mandamus and Venue Act and

 6 All Writs Act, 28 U.S.C. §§ 1361 and 1651. ITU seeks an order from this Court enjoining the further

 7 use of a document that ITU alleges is attorney-client privileged (“Nolan Memorandum”) in the ongoing

 8 administrative proceeding to withdraw ITU’s certification to admit nonimmigrant students. Federal

 9 defendants Kirstjen M. Nielsen, in her official capacity as Secretary of U.S. Department of Homeland
10 Security (“DHS”), United States of America, DHS, and U.S. Immigration and Customs Enforcement

11 (“ICE”), Student Exchange Visitor Program (“SEVP”) (collectively, “Federal Defendants”) filed a

12 Motion to Dismiss ITU’s Complaint on December 17, 2018. Dkt. No. 27. ITU filed an Opposition on

13 March 22, 2019. Dkt. No. 33. Defendants herein reply to ITU’s Opposition.

14          ITU’s Opposition fails to cure the fatal deficiencies in its Complaint. First, ITU’s Complaint

15 fails to identify a “final agency action” that is subject to judicial review pursuant to the APA. Instead,

16 ITU’s Opposition makes clear that it seeks to extricate from an ongoing administrative proceeding the

17 agency’s non-final position on a single document to obtain judicial review before the issue is ripe.

18 ITU’s argument that SEVP’s position on the Nolan Memorandum could be construed as “final” by way

19 of an agency letter is directly contradicted by ITU’s pending agency appeal, the outcome of which could

20 moot the entire controversy. Moreover, SEVP’s position that the Nolan Memorandum is not privileged

21 does not bear the necessary hallmarks of final agency action that would subject it, standing alone, to

22 judicial review. Second, Ninth Circuit precedent holds that the attorney-client privilege is a rule of

23 evidence, not a constitutional right. ITU has not addressed this authority, which forecloses its

24 constitutional claim in this case. Nor does the government’s conduct shock the conscience, especially in

25 light of the administrative procedures that allow ITU to advocate for continued SEVP certification.

26 Finally, given these fatal flaws, and its inability to identify a nondiscretionary duty of an officer, ITU’s
27 claims are insufficient to support its claim for a writ of mandamus.

28          Accordingly, ITU’s Complaint should be dismissed in its entirety.

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 1 II.      ARGUMENT

 2          A.      The Court Lacks Subject Matter Jurisdiction Over Plaintiff’s APA Claims Because
                    There Has Been No Final Agency Action
 3
                    1.      The APA’s limited waiver of sovereign immunity does not apply in the
 4                          absence of a final agency action.

 5          Both ITU’s Second and Third Claims for relief pursuant to the APA should be dismissed for lack

 6 of jurisdiction pursuant to Rule 12(b)(1) because ITU has failed to identify a final agency action subject

 7 to judicial review. Tellingly, ITU never uses the words “final agency action” in its Complaint. See

 8 Compl., generally. In fact, ITU’s Complaint concedes that SEVP’s withdrawal proceeding against it is

 9 ongoing in light of its appeal pending with the agency. See Compl., ¶¶ 49-50. ITU’s argument that
10 certain agency actions “amount” to a final determination regarding SEVP’s position on whether the

11 Nolan Memorandum is privileged is not persuasive or supported by any relevant precedent. Nor can this

12 argument be reconciled with correspondence between ITU and SEVP regarding this matter, or ITU’s

13 pending agency appeal.1 See Opp., 18:8-22. In the absence of a final agency action, this court lacks

14 subject matter jurisdiction over ITU’s APA claims.

15          ITU’s argument that it has established jurisdiction with respect to its APA claims is refuted by

16 Ninth Circuit precedent. See Opp., 14:17-16:9; see, i.e., Wild Fish Conservancy v. Jewell, 730 F.3d 791,

17 802 (9th Cir. 2013) (holding that because the claim did not challenge final agency action, the court

18 lacked jurisdiction to consider it); Gallo Cattle Co. v. U.S. Dep’t of Agric., 159 F.3d 1194, 1198–99 (9th

19 Cir. 1998) (in the absence of a final agency action, the court lacked subject matter jurisdiction). It is

20 beyond dispute that the APA does not provide an independent basis for subject matter jurisdiction. 2 See

21 Gallo Cattle, 159 F.3d at 1198–99. See id. Instead, the APA “contains a specific waiver of the United

22 States’ sovereign immunity.” Matsuo v. United States, 416 F.Supp.2d 982, 988 (D. Haw. 2006) (citing

23

24          1
               In light of ITU’s failure to allege a “final agency action,” its argument that its Complaint should
     be read to include this allegation is tantamount to asserting new facts in its Opposition. However, “[t]he
25   Court cannot consider new facts alleged in opposition papers in deciding a Rule 12(b)(6) motion.”
     Peters v. Rust Consulting, Inc., 2013 WL 12202728, at *2 (C.D. Cal. Dec. 18, 2013)).
26           2
               In its Motion to Dismiss, the Federal Defendants set out the well-settled proposition that the
27   general jurisdictional statutes found at 28 U.S.C §§ 1331 and 1361 do not constitute a waiver of
     sovereign immunity. Dunn & Black P.S. v. United States, 492 F.3d 1084, 1088 (9th Cir. 2007) (quoting
28   Gilbert v. DaGrossa, 756 F.2d 1455, 1458-59 (9th Cir. 1985). Although 28 U.S.C. § 1331 may provide
     jurisdiction over federal questions, that does not address whether sovereign immunity may bar a suit.
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 1 Bowen v. Massachusetts, 487 U.S. 879, 891–92 (1988)); see also Navajo Nation v. Dep't of the Interior,

 2 876 F.3d 1144, 1168 (9th Cir. 2017). The APA “waives sovereign immunity broadly for all causes of

 3 action that meet its terms” irrespective of whether the claims satisfy the APA’s requirements for judicial

 4 review of an agency action. Navajo Nation, 876 F.3d at 1172; see also The Presbyterian Church

 5 (U.S.A.) v. United States, 870 F.2d 518, 525 (9th Cir. 1989) (Section 702 is “an unqualified waiver of

 6 sovereign immunity in actions seeking nonmonetary relief”).

 7          Ninth Circuit precedent further holds, however, that the APA’s sovereign immunity waiver is

 8 limited by the APA’s requirements for judicial review of APA causes of action. See id. at 1198–99 (the

 9 APA’s waiver of sovereign immunity is limited, including Section 704’s limitation to review of only
10 “final agency action” and “agency action otherwise reviewable by statute”). In Gallo Cattle, the Ninth

11 Circuit affirmed the district court’s dismissal of an APA claim where there was no final agency action

12 for lack of subject matter jurisdiction. See Gallo Cattle, 159 F.3d at 1199 (holding that the lack of final

13 agency action meant § 704 “could not vest the district court with jurisdiction to review the order”); id. at

14 1200 (same). The Navajo Nation panel recently revisited Gallo Cattle’s holding that the final agency

15 action requirement in section 704 is a limitation on the APA’s waiver of sovereign immunity, and

16 concluded that it was better described as “an independent element without which courts may not

17 determine APA claims.” Navajo Nation, 876 F.3d at 1171 (“§ 704’s requirement that to proceed under

18 the APA, agency action must be final or otherwise reviewable by statute is an independent element

19 without which courts may not determine APA claims.”) Navajo Nation did not, however, overrule

20 Gallo Cattle, nor did it criticize Gallo Cattle’s holding that with respect to claims pursuant to the APA,

21 the absence of a final agency action results in a lack of subject matter jurisdiction. See id. at 1170-71.

22 Either way, the Court lacks subject matter jurisdiction because ITU has failed to sufficiently allege any

23 final agency action. The out-of-circuit authority cited by ITU is not controlling. See Opp. 14:18-16:9.

24          ITU’s argument that its Complaint identifies a final agency action has no merit. An agency

25 action is final if (1) it “marks the consummation of the agency’s decision-making process—it must not

26 be of a merely tentative or interlocutory nature” and (2) is “one by which rights or obligations have been
27 determined, or from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177–78,

28 (1997) (internal citations and quotations omitted). ITU has failed to identify any action that marked the

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 1 end of SEVP’s decision-making process with respect to ITU’s assertion that the Nolan Memorandum is

 2 privileged. See Opp., 18:11-22. Moreover, the very definition of a “final agency action” renders moot

 3 ITU’s argument that a series of events could “amount” to a final agency action, or that any one in a

 4 handful of actions could equally be considered under the law as a final agency action. See Opp., 18:8-

 5 10; Bennett, 520 U.S. 177–78. ITU’s argument that any of the letters SEVP wrote to ITU about this

 6 matter, which ITU filed in support of its Motion for Preliminary Injunction and which have been

 7 incorporated by reference into its Complaint, can be considered the agency’s final position is belied by

 8 the ongoing nature of the enforcement action, and, further, none of the letters contain such a statement.3

 9 See Request for Judicial Notice (“RJN”), Exh. B, D, and F. Nor has ITU alleged that SEVP included
10 any statement in the superseding Withdrawal on Notice SEVP issued to ITU in April 2018 (the “2018

11 Withdrawal”), also incorporated by reference into ITU’s Complaint, that its position on the Nolan

12 Memorandum was final, and, again, ITU appealed. See Opp., 12:24-25; see RJN Exh. H. ITU’s

13 allegation that SEVP “ignored” its August 6, 2018 letter rings hollow, as ITU’s agency appeal was

14 pending at the time. Opp., 18:15-17.

15          Nor has ITU established that SEVP’s position on the Nolan Memorandum has determined its

16 rights or obligations. ITU alleges that it is SEVP-certified and gained access to SEVP’s Student and

17 Exchange Visitor Information System (“SEVIS”) (Compl., ¶ 33), and concedes that access continues

18 during the pendency of its appeal (Compl. ¶ 47). See Opp., 18:23-19:1. Moreover, ITU’s citation to

19 Oregon Natural Desert Association does nothing to advance its claims. See Opp., 10:14-22, citing Or.

20 Nat. Desert Ass’n. v. U.S. Forest Service, 465 F.3d 977 (9th Cir. 2006). In Oregon Natural Desert

21 Association, the administrative agency’s action set final parameters for a grazing season and imposed

22 legal consequences on a grazing permit holders with immediate effect. Id. Here, however, ITU’s

23 alleged loss of confidentiality and the alleged taint of the ongoing enforcement proceeding does not have

24 a direct and immediate effect on its day-to-day operations. ITU alleges that in July 2016, SEVP

25

26          As set out in Defendant’s Request for Judicial Notice, documents incorporated by reference to a
            3

   complaint may be considered by the court on motion to dismiss without converting it into a motion for
27 summary judgment. Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir. 2010). Defendants
   may attach the documents to a motion to dismiss and the court may consider them. Branch v. Tunnell,
28 14 F.3d 449, 454 (9th Cir. 1994) (overruled on other grounds in Galbraith v. County of Santa Clara,
   307 F.3d 1119, 1127 (9th Cir. 2002).
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 1 informed it that SEVP had received the Nolan Memorandum in January 2015. Compl, ¶ 34. ITU makes

 2 no allegations regarding how its day-to-day operations have been impacted by SEVP’s ongoing

 3 possession of the Nolan Memorandum from that time forward, especially where it concedes that it has

 4 not alleged any loss of access to SEVIS or prohibition on its ability to enroll nonimmigrant students.

 5 Compl., ¶ 47. ITU alleges that its enrollment has decreased, but that is not a legal consequence. Id.

 6 Nor has ITU alleged that it is required to comply with any “terms” or other requirements by virtue of

 7 SEVP’s possession of the Nolan Memorandum. Finally, given ITU’s concession that the administrative

 8 proceeding is ongoing, and that it is still entitled to admit nonimmigrant students and has access to

 9 SEVIS, it is premature to say that SEVP’s position on the Nolan Memorandum has had legal
10 consequences for ITU. See Opp., 12:24-13:2.

11          ITU’s Opposition fails to include any authority establishing that the alleged violation of attorney-

12 client privilege via SEVP’s possession, review, and use of the Memorandum constitutes a final agency

13 action. Rather than accept that it must await ICE’s final determination in this enforcement action to seek

14 judicial review, ITU is, in effect, asking this Court to create a new standard that has no basis in case law

15 within this Circuit or, by ITU’s admission, in any other Circuit. To fashion this new standard, ITU

16 would have this Court borrow, for instance, from case law in the criminal seizure context, which has

17 little, if any, applicability here. See Matter of the Search of 636 S. 66th Terrace, Kan. City., Kan, 835 F.

18 Supp. 1304 (D. Kan. 1993)(finding that irreparable harm is required for the exercise of the court’s equity

19 jurisdiction in reference to circumstances where a movant pursuant to the rules of criminal procedure

20 cannot wait for the relief which might be afforded by a legal remedy and further determining that the

21 threat of criminal prosecution is not irreparable harm). If a criminal indictment does not rise to the level

22 of irreparable harm, then nor does an administrative enforcement action in which a first arbiter’s

23 determination is subject to independent review by an appellate body.

24                  2.     Plaintiff’s APA claims are not ripe and have not been administratively
                           exhausted.
25
            There is no dispute that SEVP’s administrative action to withdraw ITU’s certification to admit
26
     nonimmigrant students is still pending. ITU’s Opposition makes clear that it filed this action
27
     specifically to seek a ruling from this court regarding SEVP’s position on the use of a document in this
28

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 1 ongoing administrative proceeding. Opp., 19:27-20:2. In the absence of any final agency action, and in

 2 light of the ongoing administrative proceeding, ITU’s argument that this Court should review SEVP’s

 3 position on the Nolan Memorandum, standing alone, and without first exhausting administrative

 4 remedies, is without merit.

 5           The ripeness doctrine avoids “premature adjudication” of disputes, Scott v. Pasadena Unif. Sch.

 6 Dist., 306 F.3d 646, 662 (9th Cir. 2002), and “prevents courts from deciding abstract issues that have not

 7 yet had a concrete impact on the parties,” Vieux v. E Bay Reg’l Park Dist., 906 F.2d 1330, 1344 (9th Cir.

 8 1990). To determine whether a claim is ripe for judicial review, courts focus on “(1) the fitness of the

 9 issues for judicial decision, and (2) the hardship to the parties of withholding court consideration.” Nat’l
10 Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003). In making its ripeness argument,

11 ITU cites In re Coleman, 560 F.3rd 1000 (9th Cir. 2009), and states, “the issues presented must be

12 definite and concrete, not hypothetical or abstract.” In re Coleman, 560 F.3rd at 1005. Yet ITU’s

13 speculation regarding how and if the Administrative Appeals Team (“AAT”) may use and interpret the

14 Nolan Memorandum, if it has access to it at all, or its assumptions that ITU may lose its SEVP

15 certification, are also insufficient to justify a finding of ripeness pursuant to standard articulated in In re

16 Coleman. Opp., 6. Thus, these hypothetical future events surrounding the Nolan Memorandum are

17 insufficient to render this case ripe for judicial review.

18           Under the related doctrine of exhaustion, exhaustion of administrative matters is judicially

19 imposed as a prudential matter where (1) agency expertise makes agency consideration necessary to

20 generate a proper record and generate a proper decision, (2) relaxation of the requirement would

21 encourage the deliberate bypass of the administrative schedule, and (3) administrative review is likely to

22 allow the agency to correct its own mistakes and to preclude the need for judicial review. See Liang v.

23 Ashcroft, 370 F.3d 994, 997-98 (9th Cir. 2004) (“Under the doctrine of exhaustion, ‘no one is entitled to

24 judicial relief for a supposed or threatened injury until the prescribed ... remedy has been exhausted.’

25 Exhaustion can be either statutorily or judicially required”) (quoting McKart v. United States, 395 U.S.

26 185, 193 (1969)); Puga v. Chertoff, 488 F.3d 812, 815 (9th Cir. 2007); Sheikh v. Lynch, 2015 WL
27 7731802, at * 2 (N.D. Cal. Dec. 1, 2015); cf. Ukiah Valley Med. Ctr, 911 F.2d at 266-67 & n1

28 (discussing the relation between finality, ripeness and exhaustion in administrative law, but noting that

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 1 “a finding of finality, or an applicable exception, is essential when the court’s reviewing authority

 2 depends on one of the many statutes permitting appeal only of ‘final’ agency action, such as § 10 of the

 3 APA, 5 U.S.C. § 704”).

 4          ITU’s argument that it does not have to exhaust administrative remedies because its presents a

 5 constitutional claim is baseless. As the Supreme Court and Ninth Circuit have held, the attorney-client

 6 privilege is a rule of evidence, not a constitutional right. See Opp., 24:6-22; see, e.g., Maness v. Meyers,

 7 419 U.S. 449, 466 n.15 (1975) (“We are not aware that the Court has even identified a ‘constitutionally

 8 protected attorney-client’ privilege....”); Clutchette v. Rushen, 770 F.2d 1469, 1471 (9th Cir.1985)

 9 (“Standing alone, the attorney-client privilege is merely a rule of evidence; it has not yet been held a
10 constitutional right.”). ITU has failed to acknowledge or address this authority, or establish that it is

11 proper for the Court to review a non-final agency decision during an ongoing administrative proceeding

12 through any other means. Given that ITU has not identified any final agency action with respect to

13 SEVP’s position on the Nolan Memorandum, it has not pointed to any facts or law showing that further

14 adjudication by the agency is futile.

15          Despite ITU’s claims to the contrary, exhaustion is required in this case. As the Government has

16 addressed, ITU has failed to point to any precedent demonstrating that the attorney-client privilege has

17 risen to the level of a constitutional right, rendering its constitutional challenge in this case improper and

18 its related argument that exhaustion is not required based on its constitutional challenge moot.

19 Moreover, and significantly, even in cases where constitutional challenges have been averred, the Ninth

20 Circuit has long held that the exhaustion of administrative remedies is required where relief may, as

21 here, be granted by an administrative agency on other grounds. Murillo v. Mathews, 588 F.2d 759, 761

22 (9th Cir. 1978) (finding that “affording the administrative agency an opportunity to resolve a dispute is

23 especially important when administrative action may obviate the need for adjudication of constitutional

24 issues,” that “the doctrine of exhaustion of administrative remedies is not prevented from being applied

25 solely by the fact the party applying for judicial relief urges a violation of rights secured by the federal

26 constitution,” and “[w]here relief may be granted on other nonconstitutional grounds, exhaustion is
27 required.”); Montana Chapter of Civilian Technicians v. Young, 514 F.2d 1165, 1167-68 (9th Cir. 1975);

28 Renegotiation Board v. Bannercraft Clothing Co., 415 U.S. 1, 20 (1974); Aircraft & Diesel Corp. v.

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 1 Hirsch, 331 U.S. 752, 772 (1947); Monolith Portland Midwest Co. v. Reconstruction Finance Corp.,

 2 178 F.2d 854, 858 (9th Cir. 1949), cert. denied, 339 U.S. 932 (1950). In Barbur v. U.S. Citizenship &

 3 Immigration Servs. at 2013 WL 3285490, 3 (June 26, 2013), the District of Nevada held that the mere

 4 allegation of or reference to a right secured by the Federal Constitution does not prevent the doctrine of

 5 exhaustion from being applied. Indeed, as in Montana Chapter of Civilian Technicians, the court found

 6 that relief could be provided even avoiding the constitutional question. Id. Specifically, the court found

 7 “that the immigration judge and Board of Immigration Appeals were fully capable of remedying

 8 violations of due process relating to the statutes and regulations within their authority.” Id. The court

 9 further held that allegations of due process violations are precisely the sorts of procedural errors which
10 require exhaustion because, given the opportunity, the immigration court could correct any potential

11 procedural error. Id., see Rashtabadi v. I.N.S., 23 F.3d 1562, 1567 (9th Cir.1994). Significantly, the

12 court noted that “plaintiff will be entitled to de novo review of her waiver application; that review by

13 itself may resolve the claims raised in the Complaint. Thus, Plaintiff is required to exhaust her

14 administrative remedies before bringing suit in [the district c]ourt.” Barbur at *3. In the instant case,

15 ITU has not established a constitutional right to the attorney-client privilege. And, as seen from the

16 foregoing binding precedent, even where a constitutional claim is asserted, there is no exception from

17 administrative exhaustion where, as here, the agency can decide and potentially moot the matter on other

18 grounds.

19          B.      ITU Has Failed To Sufficiently Allege That This Court Has Jurisdiction Pursuant to
                    the Mandamus and Venue Act or the All Writs Act.
20
                    1.      This Court lacks subject matter jurisdiction pursuant to the Mandamus and
21                          Venue Act because Plaintiff failed to specify a nondiscretionary duty that
                            Defendants failed to perform.
22
            ITU’s Opposition fails to establish that this Court has jurisdiction over its request for a writ of
23
     mandamus. Pursuant to the Mandamus & Venue Act of 1962 (“MVA”), 28 U.S.C. § 1361, “[t]he
24
     district courts shall have original jurisdiction of any action in the nature of mandamus to compel an
25
     officer or employee of the United States or any agency thereof to perform a duty owed to the plaintiff.”
26
     ITU does not dispute that the Ninth Circuit’s test concerning when mandamus is appropriate requires
27
     that “(1) the individual’s claim is clear and certain; (2) the official’s duty is nondiscretionary, ministerial
28

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 1 and so plainly prescribed as to be free from doubt, and (3) no other adequate remedy is available.”

 2 Kildare v. Saenz, 325 F.3d 1078, 1084 (9th Cir. 2003). The writ of mandamus “is a drastic and

 3 extraordinary remedy reserved for really extraordinary causes.” United States v. Guerrero, 693 F.3d

 4 990, 999 (9th Cir. 2012) (quoting Cheney v. U.S. Dist. Court, 542 U.S. 367, 380 (2004)).

 5          Moreover, ITU has failed to establish that it can satisfy the three required elements of this claim

 6 and that this court has jurisdiction as a result. Kildare, 325 F.3d at 1084 (internal citation omitted)

 7 (subject matter jurisdiction for a mandamus claim will lie under § 1361 only if all elements of the claim

 8 are met). Here, ITU’s claim is not clear and certain. ITU’s assertion that the Nolan Memorandum is

 9 privilege reflects its own legal conclusion, with which SEVP has indicated it does not agree. Given that
10 the administrative proceeding is ongoing, and ITU has a pending appeal, this claim is not clear or

11 certain. See Compl., ¶ 36. Nor has ITU asserted a nondiscretionary, ministerial duty. ITU’s assertion

12 that SEVP’s duty is nondiscretionary because it is prescribed by the Constitution fails in light of

13 Supreme Court and Ninth Circuit authority states the attorney-client privilege is a rule of evidence, not a

14 constitutional right. See, e.g., Maness, 419 U.S. at 466 n.15, (“We are not aware that the Court has even

15 identified a ‘constitutionally protected attorney-client’ privilege....”); Clutchette, 770 F.2d at 1471

16 (“Standing alone, the attorney-client privilege is merely a rule of evidence; it has not yet been held a

17 constitutional right.”). Finally, ITU’s appeal of the 2018 Withdrawal is pending. See Compl, ¶ 49-50.

18 In light of ITU’s clarification that it seeks relief from this Court with respect to SEVP’s position on the

19 Nolan Memorandum, it is asking the Court to take this matter outside the purview of an ongoing

20 administrative action. See Opp. at 17:8-11. A plaintiff, however, may not use mandamus to circumvent

21 the administrative appeals process. Heckler v. Ringer, 466 U.S. 602, 616-67 (1984) (affirming dismissal

22 of mandamus action when plaintiff had not satisfied the exhaustion requirement). ITU’s mandamus

23 claim should be dismissed on this ground alone.

24          ITU’s reliance on Hernandez v. Tanninen, 604 F.3d 1095 (9th Cir. 2010) and In re Kellogg

25 Brown & Root, Inc., 756 F.3d 754 (D.C. Cir. 2014) for the proposition that this Court has mandamus

26 jurisdiction because ITU is challenging an alleged intrusion into the attorney-client privilege is
27 misplaced. See Opp., 27:1-6. In both cases, an appellate court considered a petition for a writ of

28 mandamus challenging a district court ruling because no interlocutory appeal was available. These

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 1 cases do not govern here, as ITU seeks to have the Court intervene in an ongoing administrative action.

 2                  2.      In the absence of subject matter jurisdiction pursuant to the Mandamus and
                            Venue Act, this Court also lacks subject matter jurisdiction pursuant to the
 3                          All Writs Act because it does not confer jurisdiction standing alone.

 4          ITU has failed to establish any threat to this Court’s jurisdiction arising out of its pending appeal

 5 of the 2018 Withdrawal prior to any subsequent district court litigation that would justify a writ pursuant

 6 to the All Writs Act. The All Writs Act provides that the “Supreme Court and all courts established by

 7 Act of Congress may issue all writs necessary or appropriate in aid of their respective jurisdictions and

 8 agreeable to the usages and principles of law.” 28 U.S.C. § 1651(a). A party seeking an injunction

 9 pursuant to the All Writs Act need only show that a court’s jurisdiction may be impaired by the related
10 litigation or proceeding. See In re Baldwin-United Corp., 770 F.2d 328, 338-39 (2nd Cir. 1985) (noting

11 that All Writs Act injunctions “are needed to prevent third parties from thwarting the court’s ability to

12 reach and resolve the merits of the federal suit before it”). ITU’s argument that the Court must issue a

13 writ to “preserve the integrity of the proceedings” at the administrative level is not sufficient to meet this

14 high standard. See Opp., 28:14-15.

15          Although the Supreme Court has held that, in some circumstances, the All Writs Act can provide

16 a district court with jurisdiction to issue an injunction in an administrative proceeding, such an action

17 requires that the party seeking the injunction establish (1) that the refusal to grant the injunction will

18 defeat the court’s review jurisdiction once the agency action is final, and (2) that Congress intended to

19 permit or preclude a status quo injunction. See V.N.A. of Greater Tift County, Inc. v. Heckler, 711 F.2d

20 1020, 1029 (11th Cir. 1983) (internal citations omitted). ITU has made no showing that allowing the

21 agency to complete the administrative proceeding will defeat this court’s review jurisdiction, or that

22 Congress intended to either permit or preclude a status quo injunction. See Pennsylvania Bureau of

23 Correction v. U.S. Marshals Serv., 474 U.S. 34, 43 (1985) (“Although [the All Writs Act] empowers

24 federal courts to fashion extraordinary remedies when the need arises, it does not authorize them to issue

25 ad hoc writs whenever compliance with statutory procedures appears inconvenient or less appropriate.”).

26          C.      ITU Is Not Entitled To Declaratory Relief.

27          There is no dispute that the Declaratory Judgment Act creates a remedy where jurisdiction

28 already exists. Countrywide Home Loans, Inc. v. Mortg. Guar. Ins. Corp., 642 F.3d 849, 853 (9th Cir.

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 1 2011) (“while the DJA expanded the scope of the federal courts’ remedial powers, it did nothing to alter

 2 the courts’ jurisdiction”); see also Opp., 16:11-24. As set out in full in the Federal Defendants’ Motion

 3 to Dismiss and this Reply, ITU has failed to establish jurisdiction or state a claim for which relief can be

 4 granted. Accordingly, declaratory relief is not available. Skelly Oil Co. v. Phillips Petr. Co., 399 U.S.

 5 667, 671 (1950); Burns Ranches v. Dep’t. of Interior, 851 F.Supp.2d 1267, 1271-72 (D. Oregon 2012).

 6          D.       ITU’s First Claim For Declaratory Relief for Violation of Its Fifth Amendment Due
                     Process Rights Should Be Dismissed For Failure to State a Claim.
 7
            ITU’s First Claim for Declaratory Relief for violation of either its substantive or its procedural
 8
     Fifth Amendment due process rights should be dismissed.4
 9
            As an initial matter, there is no dispute that on a motion to dismiss for failure to state a claim
10
     under Federal Rule of Civil Procedure 12(b)(6), all allegations of material fact must be accepted as true
11
     and construed in the light most favorable to the nonmoving party. Cahill v. Liberty Mut. Ins. Co., 80
12
     F.3d 336, 337-38 (9th Cir. 1996). However, “the tenet that a court must accept as true all of the
13
     allegations contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S.
14
     662, 678 (2009); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (stating that while a
15
     complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations,
16
     courts “are not bound to accept as true a legal conclusion couched as a factual allegation” (citations and
17
     quotes omitted)). Here, ITU’s assertion that the Defendants have violated its privilege is a legal
18
     conclusion, as is the attendant underlying assumption that the privilege applies to the Nolan
19
     Memorandum in the first instance. See United States v. Ruehle, 583 F.3d 600, 608 (9th Cir. 2009)
20
     (holding that “[i]ssues concerning application of the attorney-client privilege in the adjudication of
21
     federal law are governed by federal common law” and setting out an eight-part test to determine whether
22
     information is covered by the privilege.)
23
            As noted in Defendant’s Motion to Dismiss, the Due Process Clause of the Fifth Amendment
24

25          4
             The Ninth Circuit has held that § 702 of the APA “is an unqualified waiver of sovereign
26 immunity   in actions seeking nonmonetary relief against legal wrongs for which governmental agencies
   are accountable.” See The Presbyterian Church (U.S.A.) v. United States, 870 F.2d 518, 525 & n.9 (9th
27 Cir. 1989). Accordingly, ITU’s due process claim is not subject to Section 704 of the APA, which limits
   judicial review to final agency actions. Navajo Nation v. Dep’t of the Interior, 876 F.3d 1144, 1171 (9th
28 Cir. 2017); see also Robinson v. Salazar, 885 F.Supp.2d 1002, 1027–28 (E.D. Cal. 2012) (concluding
   that the holding of Presbyterian Church was limited to constitutional claims seeking equitable relief).
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 1 provides that no person shall “be deprived of life, liberty, or property, without due process of law. U.S.

 2 Const. amend. V.; Dkt. 27 at 16-23. A threshold requirement to a substantive or procedural due process

 3 claim is the plaintiff's showing of a liberty or property interest protected by the Constitution.” Ching v.

 4 Mayorkas, 725 F.3d 1149, 1155 (9th Cir. 2013) (quoting Wedges/Ledges of Cal., Inc. v. City of Phoenix,

 5 24 F.3d 56, 62 (9th Cir.1994)). As Defendants’ motion also pointed out, both the Supreme Court and

 6 the Ninth Circuit have declined to recognize the attorney-client privilege, standing alone, as

 7 constitutionally protected. See, e.g., Maness, 419 U.S. at 466 n.15 (“We are not aware that the Court has

 8 even identified a ‘constitutionally protected attorney-client’ privilege....”); Clutchette, 770 F.2d at 1471

 9 (“Standing alone, the attorney-client privilege is merely a rule of evidence; it has not yet been held a
10 constitutional right.”). ITU fails to acknowledge either this Supreme Court or Ninth Circuit precedent,

11 which forecloses its claim for a violation of either its substantive or due process rights.

12          ITU’s reference to a Ninth Circuit discussion of the attorney-client privilege in the context of the

13 crime-fraud exception does not resuscitate its claim. See Opp., 29:17-30:2, citing In re Napster, Inc.

14 Copyright Litig., 479 F.3d 1078, 1093 (9th Cir. 2007), abrogated by Mohawk Indus., Inc. v. Carpenter,

15 558 U.S. 100 (2009). In the context of evaluating whether the crime-fraud exception applied in the civil

16 case before it, the In re Napster Court stated that “[t]he attorney-client privilege protects fundamental

17 liberty interests by allowing individuals to seek the legal advice they need “to guide them through [the]

18 thickets” of complex laws. Id., citing United States v. Chen, 99 F.3d 1495, 1499 (9th Cir.1996). It did

19 not, however, overrule or even consider the Supreme Court and Ninth Circuit precedent holding that the

20 attorney-client privilege is a rule of evidence, not a constitutional right. See Maness, 419 U.S. at 466

21 n.15, see also Clutchette, 770 F.2d at 1471.

22          In light of ITU’s narrow allegation that its due process rights have been violated by SEVP’s

23 possession, review, and use of the Nolan Memorandum (Compl., ¶ 56), and Ninth Circuit precedent

24 stating the attorney-client privilege is not protected by the Fifth Amendment, its argument that it has

25 been deprived of other liberty and property rights is unavailing. Opp. at 29:12-17. ITU argues that in

26 addition to a violation of its attorney-client privilege, it has been deprived of “past and future lost
27 revenue from the decline in student enrollment, and the potential loss of its certification to enroll

28 nonimmigrant students.” Id. ITU has pointed to no authority, and the Federal Defendants are aware of

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 1 none, that it has a Fifth Amendment due process interest in lost revenue. With respect to the potential

 2 loss of its SEVP certification, the District of Columbia Circuit has held that a certification to admit

 3 nonimmigrant students is a valuable asset in the nature of a license that is entitled to procedural due

 4 process protection. Blackwell Coll. of Bus. v. Attorney Gen., 454 F.2d 928, 932 (D.D.C. 1971). In

 5 Blackwell, however, the government had already withdrawn the plaintiff school’s certification, which

 6 ITU does not allege has happened here. See id. at 931. Moreover, this procedural due process question

 7 is not before the Court, nor is it ripe, because as ITU concedes, the administrative process is not yet

 8 complete and, thus, the loss of ITU’s SEVP certification remains speculative. See Compl., ¶ 50.

 9          ITU’s attempt to salvage its claim by arguing, in the alternative, that the Federal Defendants’

10 conduct rises to the level of “outrageous government conduct” fares no better. Opp. at 30:3-31:8. To

11 establish a substantive due process violation, ITU must demonstrate that Defendants' conduct was “so

12 egregious, so outrageous, that it may fairly be said to shock the contemporary conscience.” Cty. of

13 Sacramento v. Lewis, 523 U.S. 833, 847 n.8 (1998), abrogated on other grounds by Saucier v. Katz, 533

14 U.S. 194 (2001). “[C]onduct intended to injure in some way unjustifiable by any government interest is

15 the sort of official action most likely to rise to the conscience-shocking level.” Id. at 849.

16          Here, ITU alleges that it corresponded on multiple occasions with SEVP regarding its use of the

17 Nolan Memorandum. Compl. ¶ 36, 44, Opp. at 10:21-11:15. ITU argues that it was never told that the

18 Nolan Memorandum was “voluntarily” provided to the agency, that this is a “novel allegation,” and that

19 “ITU does not know how SEVP obtained” the document. See Opp., 29:23-27 n. 2. However, ITU has

20 incorporated in its Complaint and placed on the record in this action correspondence from SEVP that

21 states a whistleblower intentionally provided the document to the agency. See Dkt. 26-5-10.

22          ITU acknowledges that it has had two opportunities to appeal during the administrative

23 proceedings before the agency. Compl., ¶ 40, 49, Opp. at 11:27-12:3. One appeal resulted in SEVP

24 reopening the proceedings to provide ITU with a telephonic interview, and one appeal is still pending.

25 Compl., ¶ 40, 49; Opp. at 12:1-3; 12:24-25. Although ITU alleges that SEVP relied on the Nolan

26 Memorandum in its notices regarding the reasons for its withdrawal of ITU’s certification, ITU
27 incorporated by reference into its Complaint and placed on the record in this matter a letter from SEVP

28 indicating there were additional grounds for the action. See Compl., ¶ 39, 42; Opp. 11:25-27; 12:7-8,

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 1 RJN Exh. G. In fact, in its September 28, 2017 Motion by Service Officer, SEVP asserted that during

 2 compliance reviews between 2010 to 2014, ITU’s responses indicated that it had failed to maintain the

 3 required records. RJN, Exh. G. Although ITU disagrees with SEVP’s actions, it has failed to allege that

 4 the Federal Defendants have engaged in any conduct that shocks the conscience.

 5          None of the conduct in the criminal cases cited by ITU is analogous here, nor does it establish

 6 that the government’s conduct shocks the conscience. See Opp., 30:3-31:8. In United States v. Stinson,

 7 the Ninth Circuit held there was no due process violation in light of allegations of outrageous

 8 government conduct regarding certain government witnesses who were paid to testify, had previously

 9 perjured themselves, and were allegedly threatened by law enforcement officers. See United States v.
10 Stinson, 647 F.3d 1196, 1209 (2011). The Ninth Circuit held that “[i]n order to show outrageous

11 government conduct, defendants must show conduct that violates due process in such a way that it is “so

12 grossly shocking and so outrageous as to violate the universal sense of justice.” See id. (internal

13 citations omitted). This defense is “limited to extreme cases in which the government’s conduct violates

14 fundamental fairness.” See id. (internal citations omitted). Similarly, the Ninth Circuit held there was

15 no due process violation where an informant allegedly engaged in sexual activity with the defendant and

16 introduced her to crack cocaine because such conduct transpired before the informant started working

17 with the government. See United States v. Restrepo, 930 F.2d 705, 711, 712-13 (1991).

18          Similarly, the out of circuit authority cited by ITU is inapposite. For instance, the Fourth

19 Circuit’s decision that it was a due process violation for an attorney who became an AUSA to join the

20 prosecution of his former clients regarding matters identical to those about which he had counseled them

21 has no bearing on this matter. See United States v. Schell, 775 F.2d 559, 565 (4th Cir. 1985). ITU’s

22 claims are also not supported by the Third Circuit’s holding that it was harmless error to not hold an

23 evidentiary hearing regarding the existence of an attorney-client relationship because the record fell

24 “woefully short of establishing the sort of purposeful intrusion into [the criminal defendant’s] attorney

25 client relationship with [her alleged attorney] that would rise to the level of outrageousness.” See United

26 States v. Voight, 89 F.3d 1050, 1069, 1071 (3rd Cir. 1996). Finally, a district court’s denial of a
27 defendant’s motion to dismiss the charges against him or her for tax offenses on the basis of an alleged

28 government invasion of the defendant’s attorney-client privilege fails to further ITU’s argument. See

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 1 United States v. Neill, 952 F. Supp. 834, 841 (D.D.C. 1997).

 2          In the absence of any constitutionally protected right or outrageous government conduct rising to

 3 the level of a due process claim, ITU’s argument that it has been prejudiced cannot resuscitate its claim.

 4 See Opp., 31:9-32:10.

 5 III.     CONCLUSION

 6          For the reasons stated above, Plaintiff’s Complaint should be dismissed in its entirety.

 7 DATED: April 5, 2019                                   Respectfully submitted,

 8
                                                          DAVID L. ANDERSON
 9                                                        United States Attorney

10                                                        /s Rebecca A. Falk
                                                          REBECCA A. FALK
11                                                        Assistant United States Attorney
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